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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS


DAMON D. SMITH, et al.,
           Plaintiffs,

      vs.                                             No. 20-2500-JTM

COMMERCIAL BANK, et al.,
           Defendants.


                           MEMORANDUM AND ORDER



      On November 3, 2020, the Clerk of the Court extended the time for defendants to

answer the complaint by 14 days, to November 18, 2020. (Dkt. 11.) Since that extension,

the plaintiffs Damon and Tonia Smith have filed an Opposition (Dkt. 12) to the

extension, followed by a Motion for Default Judgment. (Dkt. 14).

      The court has reviewed the pleadings and concludes the extension was

appropriate. First, there are substantial questions as to whether or when proper service

by certified mail was made. Second, additional time is certainly warranted to respond

to the lengthy and complicated allegations made in the pro se complaint.

      Pursuant to Fed.R.Civ.Pr. 6(b)(1), the court confirms the Clerk’s extension — the

defendants Mark Helt, Lori Brake, Commercial Bank, and Lori Nolting may answer the

complaint on or before November 18, 2020. Plaintiffs’ Motion for Default (Dkt. 14) is

plainly unjustified given the active efforts of defendants to present a response, and

accordingly denied.
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IT IS SO ORDERED this day of November, 2020.




                              J. Thomas Marten
                              J. Thomas Marten, Judge




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